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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
HOMEWARD RESIDENTIAL, INC., solely in its                              :
capacity as Master Servicer for the Option One Mortgage :
Loan Trust 2006-2, for the benefit of the Trustee and the :
holders of Option One Mortgage Loan Trust 2006-2                       :     12-CV-5067 (JMF)
Certificates,                                                          :
                                                                       :          ORDER
                                    Plaintiff,                         :
                                                                       :
                  -v-                                                  :
                                                                       :
SAND CANYON CORPORATION f/k/a OPTION ONE :
MORTGAGE CORPORATION,                                                  :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        The Court agrees that the documents described in the Declarations of Arnold Barnett and
Walter Torous filed on January 14, 2021, should remain sealed for substantially the reasons
stated in the Declarations. See ECF Nos. 411, 412.

        SO ORDERED.

Dated: January 15, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
